                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )       Case No. 1:16-cr-62-3
        v.                                     )
                                               )       Judge Mattice/Steger
 ASHLEY UNDERWOOD                              )


                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

 a plea hearing in this case on July 20, 2016. At the hearing, Defendant entered a plea of guilty to

 Count One of the Indictment in exchange for the undertakings made by the Government in the

 written Plea Agreement and Plea Agreement Supplement (hereinafter “Plea Agreement”). On the

 basis of the record made at the hearing, the Court finds that Defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of

 each of the rights waived by Defendant; it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the Plea Agreement; Defendant understands the nature of the

 charges and penalties provided by law; and the plea has a sufficient basis in fact.

        I therefore recommend that Defendant’s plea of guilty to Count One of the Indictment be

 accepted; the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; and the written Plea Agreement be accepted at the time of sentencing. I further

 recommend that Defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the Plea Agreement, and imposition of sentence are

 specifically reserved for the District Court Judge.

        The Defendant’s sentencing hearing is scheduled on November 7, 2016, at 9:00 a.m.


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        ENTER:


                                                s/Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review by the district judge of the foregoing findings. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. §636(b).




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